Case 8:23-bk-11393-TA Doc115 Filed 12/20/24 Entered 12/20/24 16:26:26 Desc
Main Document Page 1 of 19

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Michael G. Spector - Bar No. 145035

Vicki L. Schennum (Of Counsel) - Bar No. 159628
LAW OFFICES OF MICHAEL G. SPECTOR
2122 N. Broadway

Santa Ana, California 92706

Telephone: 714-835-3130

Facsimile: 714-558-7435

E-Mail: mgspector@aol.com

Specially Appearing for a Limited Purpose for
GREGORY SORENSEN and LEAH KINGSTON

UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA, SANTA ANA DIVISION

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In re Case No. 8:23-bk-11393 TA

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Chapter 7

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GREGORY SORENSEN and
LEAH KINGSTON, MOTION TO COMPEL TRUSTEE TO
ABANDON REAL PROPERTY LOCATED
AT 10 WHITE PELICAN LANE, ALISO
VIEJO, CALIFORNIA; MEMORANDUM OF
POINTS AND AUTHORITIES AND
DECLARATION OF GREGORY SORENSEN

IN SUPPORT THEREOF

Date: [NO HEARING REQUIRED]
Time:
Ctrm:

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Debtors.

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TO THE HONORABLE THEODOR C. ALBERT, UNITED STATES BANKRUPTCY JUDGE:

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Debtors Gregory Sorensen and Leah Kingson (“Debtors”) hereby move for an order compelling

Jeffrey I. Golden, Chapter 7 Trustee to abandon the estate’s interest in the real property located at 10

Ny Ww
Ww Nh

White Pelican Lane, Aliso Viejo, California (hereinafter referred to as “Residence”). In support thereof,

to

the Debtors submit as follows:
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Main Document Page 2 of 19

STATEMENT OF FACTS

1. The Debtors own and reside at the Residence. [Sorensen Declaration ].

2. The Debtors scheduled the Residence at a fair market value of $ 1,200,000 and, based
upon recent comparable sales in the area, the value may have increased by $50,000 since the
commencement of the case. [Request for Judicial Notice Exhibit “1;” Schedules A/B, C and D; Exhibit
“1” to Sorensen Declaration].

3. The Residence is encumbered by two trust deeds in favor of U.S. Bank with a principal
balance owing of approximately $281,000 [Exhibit “2” to Sorensen Declaration] and a second in favor
of Monty Sorensen with a balance of approximately $412,000 [Request for Judicial Notice Exhibit “2;”
Monty Sorensen Proof of Claim].

4, The Residence is also encumbered with liens by homeowners’ associations as follows:

a) Laguna Audubon I Homeower Association $24,909 [Request for Judicial Notice
Exhibit “3;” Proof of Claim No. 8 of Laguna Audubon I Homeowner Association];
b) Laguna Audubon I Homeower Association $3,209 [Request for Judicial Notice

Exhibit “4;” Proof of Claim No. 9 of Laguna Audubon I Homeowner Association];

c) Aliso Viejo Community Association $21,871 [Request for Judicial Notice Exhibit

“5;” Proof of Claim of Aliso Viejo Community Association ].
5. Thus, the total liens encumbering the Residence are approximate as follows:

U.S Bank National $281,000
Monty Sorensen $412,000
Laguna Audubon I Homeower Association $ 24,909
Audubon I Homeower Association $ 3,209
Aliso Viejo Community Association $ 21,871

$ 742,989

6. On July 8, 2023, the Debtors filed for relief under Chapter 13 of Title 11 of the United
States Code. On their Schedule A, the Debtors value the Residence at $1,200,000. On their Schedule
C, the Debtors claimed a homestead exemption in the amount of $678,391. [Request for Judicial Notice

Exhibit “1; Debtors Schedule A/B, C and D]

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Main Document Page 3 of 19

7. Thus, the present equity analysis of the Residence, from the estate’s perspective, is as
follows:
Fair Market Value $1,250,000
Liens $_ 742.989
Net after Liens $ 507,011
Homestead Exemption $678,391
Net After Homestead ($ 161,380)
Hypothetical Costs of Sale at7% ($ 84.000)
Estate’s Equity ($ 255,380)
8. By Order entered on December 21, 2023, this case was converted to Chapter 7 and

Jeffrey I. Golden was appointed as Chapter 7 Trustee.

9. The Chapter 7 meeting of creditors was initially scheduled for January 31, 2024, but has
been continued to February 28, 2024, April 3, 2024, April 17, 2024, June 12, 2024, July 17, 2024, July
31, 2024, September 4, 2024, September 18, 2024, November 7 and is presently set for December 18,
2024. After the initial few creditor meetings, the only reason for continuing the creditor meetings was
to avoid the running of the 30-day deadline to object to exemptions following the conclusion of the
meeting of creditors.

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Main Document Page 4 of 19

1 MEMORANDUM OF POINTS AND AUTHORITIES

2 I.

3 THE RESIDENCE SHOULD BE ABANDONED

4 AS IT IS OF NO VALUE TO THE ESTATE

5 10. Bankruptcy Code §554 provides:

6

7 (b) On request of a party in interest and after notice and a hearing, the

8 court may order the trustee to abandon any property of the estate that is

9 burdensome to the estate or that is of inconsequential value and benefit
10 to the estate.
11
12 11. Bankruptcy Rule 6007(b) provides:
13
14 A party in interest may filed and serve a motion requiring the trustee or
15 debtor in possession to abandon property of the estate.
16
17 12. _ In the present case, as set forth above, there is no equity for the estate in the Residence,
18 | given the $1,200,000 value, $ 742,989 in liens, $84,000 estimated costs of sale, a homestead exemption
19 || of $678,391. Accordingly, abandonment is warranted as the Residence has no value for the estate.
20
21 IL.
22 . CONCLUSION
23 13. Forthe foregoing reasons, respectfully requests an Order abandoning the estate’s interest
24 || in the Residence.
25 || Date: December’? 2024 LAW OF CHAEL G. SPECTOR
26

BY
27 Michael G. Spector
Specially Appearing for a Limited Purpose for
28: GREGORY SORENSEN and LEAH KINGSTON
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Main Document Page 5of 19

DECLARATION OF GREGORY SORENSEN
I, Gregory Sorensen, declare as follows:

1. The following facts, I know to be true of my own personal knowledge and if called upon,
I could and would competently testify thereto.

2. My wife Leah Kingston and I own and reside at 10 White Pelican Lane, Aliso Viejo,
California (hereinafter referred to as ““Residence”).

3, In our bankruptcy schedules we valued the Residence at $ 1,200,000 and, based upon
recent comparable sales in the area provided by real estate agent Lisa Hynson, the value may have
increased by $50,000 since the commencement of the case. A true and correct copy of said comparable
sales information and market analysis is attached hereto as Exhibit “1” and is incorporated herein by this
reference.

4. The Residence is encumbered by a first trust deed in favor of U.S. Bank with a principal
balance owing of approximately $281,000. A true and correct copy ofa recent loan statement pertaining
to the first trust deed is attached hereto as Exhibit “2” and is incorporated herein by this reference. The
Residence is also encumbered with a second in favor of Monty Sorensen with a balance of
approximately $412,000. [Request for Judicial Notice Exhibit “2;” Monty Sorensen Proof of Claim].

5. The Residence is also encumbered with liens by homeowners’ associations as follows:

a) Laguna Audubon I Homeower Association $24,909 [Request for Judicial Notice
Exhibit “3;” Proof of Claim No. 8 of Laguna Audubon I Homeowner Association];

b) Laguna Audubon I Homeower Association $3,209 [Request for Judicial Notice
Exhibit “4;” Proof of Claim No. 9 of Laguna Audubon I Homeowner Association];

c) Aliso Viejo Community Association $21,871 [Request for Judicial Notice Exhibit
“5;” Proof of Claim of Aliso Viejo Community Association ].
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Case 8:23-bk-11393-TA Doc115 Filed 12/20/24 Entered 12/20/24 16:26:26 Desc
Main Document Page 6 of 19
1 6. Thus, the total liens encumbering the Residence are approximate as follows:
2 U.S Bank National $281,000
3 Monty Sorensen , $412,000
4 Laguna Audubon I Homeower Association $ 24,909
5 Audubon I Homeower Association $ 3,209
6 Aliso Viejo Community Association $ 21,871
7 $ 742,989
8
9
10 7. Thus, the present equity analysis of the Residence, from the estate’s perspective, is as
11 |] follows:
12
13 Fair Market Value $1,250,000
14 Liens $_ 742,989
15 Net after Liens $ 507,011
16 Homestead Exemption $ 678,391
17 Net After Homestead ($ 161,380)
18 Hypothetical Costs of Sale at7% ($84,000)
19 Estate’s Equity ($ 255,380)
20
21 I declare under penalty of perjury under the laws of the United States of America that the
22 || foregoing is true and correct.
23 Executed this 2? day of December 2024 at Aliso Viejo, California.
24
25
26 G7 b=
Sreggry Sovensen
27
28
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Main Document Page 7 of 19 “a

iA Rushmore
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Coen eons ENG MAIL TO TiS ADDRES! Customer Service: 877-888-4623
70 Bex 81806 Monday through Friday from @ am. to S pn. (CT]
SHO! Postal Reaci = ‘
Cleveland, OH 4218) www.rushmoreservicing.com
Statement Date: TAS/2024
sWiathe Loan Nurnber: 0707949616
ee Payment Due Date: 12/01/2024

Total Payment Amount: $6,895.87

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GREGORY P SORENSEN
1O WHITE PELICAN LANE
ALISO VIEIO, CA 92656

| Recent Account History
|

Payment due 06/01/2024: Payment rece
} Payment due 07/0/2024. Payment recsi
: Payment due 08/01/2024: Payment rec

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| Interest Bearing Principal Balance
| Interest Rate
[Escrow Balance $2

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‘Date "Description — a “Interest | Escrow

nV/og/2024 Part

1/02/2024 $1,264.18 $620.71
11/02/2024 ent-Misc Suspense

AY/o2/2024

| Partiai P2yment (Unapplied) refers to a payment less than your full monthly mortgage foan payment due that was received on your account. These’
| funds are applied to, and held in, a separate non-interest bearing account until the remaining funds are received to make a full monthly mortgage foan |
| payment. In order to apply these funds to the mortgage Joan you are required to send us the additional funds sufficient to equal a ful! monthly
mortgage Joan payment. The Partial Payment (Unapplied) balance represents the amount of funds being held ina non-interest bearing account as of |
the date of this statement. i
Lender Paid Expenses are funds paid by Rushmore Servicing on your behalf to another company. These expenses may include, but are not limited to, }
Lega! Fees, Property Taxes, Homeawners Insurance, and Property Inspections. ;
If you no fonger wish to receive a monthly statement, please send a written request to the fallawing address: :
PO Box 613287 Dallas, TX 75267 i

lf you later choose to resume delivery of a monthly statement, you must do so in writing to the same address. Please be aware that we cannot resume |
delivery of monthly statements if such delivery was halted by an order of the Bankruptcy Court. |
Please call Rushmore Servicing to request the full amount owed on your account as the amount due may be different than stated here due to interest
and other charges or credits. }
if you are a successor in interest (received the property from a relative through death. devise, or divorce, and you are not 2 borrower on the foar) that.

t has not assumed, or otherwise become obligated on the debt, this commun’caten fs for ‘oformalonal purnases only and fs sotan attempt to covet a)
debt from you personally. .

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Doc 115 Filed 12/20/24 Entered 12/20/24 16:26:26
Main Document Page 8 of 19

Desc

Lisa Hynson

State License #: 01267001
Cell Phone: 949-510-0411
Fax: 949-888-1959

Re/Max Premier Realty
State License #: 00994662
5299 Alton Pkwy

Irvine, 92604

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Case 8:23-bk-11393-TA Doc115 Filed 12/20/24 Entered 12/20/24 16:26:26 Desc
Main Document Page 9 of 19

Exhibit '

Page 9
Case 8:23-bk-11393-TA Doc115 Filed 12/20/24 Entered 12/20/24 16:26:26 Desc
Main Document Page 10 of 19

CUSTOMER FULL: Residential LISTING ID: 0¢24157470 Printed: 12/11/2024 4:05:59 PM

Exhibit "2" Page 10
Case 8:23-bk-11393-TA Doc115 Filed 12/20/24 Entered 12/20/24 16:26:26 Desc
Main Document Page 11 of 19

Closed Single Fami nea
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ingle Family Residence $1,230,000/$1,250,000 +
7 San Bittern Ln «© Aliso Viejo 92656 11 days on the market
3 beds, 2 full baths, 1 partial bath ° ° 5 i °
Built wed , i partial baths »° 1,492 sqft 3,480 sqft fot $837.80/sqit Listing ID: 0C24128013

Aliso Creek and El Toro Rd

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Case Map data @2024

Gorgeous Laguna Audubon, Laguna Beach school district home on one of the best private single loaded cul-de-sac streets!
Enjoy beautiful green belt views and tranquility from this recently remodeled pride of ownership! This home has 3 bedrooms,
2.5 baths with separate living room and den is an entertainer’s dream! The main level offers an ideal layout with a bright open
kitchen with beautiful backyard views and opens up to a large family room with recessed LED lighting and also has a separate
dining room. A sensational gourmet kitchen with stainless appliances Includes Viking cooktop and hood, Kitchen Aid built-in
flush refrigerator, double oven, dishwasher and farm sink. The beautiful living room gas fireplace provides a nice accent to
enjoy the living room and dining room both with soaring 15 foot ceilings. The home has been recently updated and improved
inside and out including the kitchen, living room fireplace, all three bathrooms, outside tile and landscaping. The master suite
features two closets, green belt views, and a spectacular master bath with dual vanities and separate large soak tub and
shower. All bedrooms are light and bright with vaulted ceilings, mirrored closet doors and recessed LED lighting. The tropical
landscaped backyard is perfect for relaxing and entertaining! This is a great opportunity to live in a wonderful detached home
in a great school district with close proximity to restaurants, retail, parks, hiking, and California’s most beautiful beaches.

Facts & Features

« Sold On 08/16/2024 « Laundry: In Garage

¢ Original List Price of $1,230,000 * Cooling: Central Air

+ Levels: Two * Heating: Central

¢ 2 Garage spaces/Attached Garage * Fireplace: Living Room

« 2 Total parking spaces * Patio: Patio, Wrap Around
« Assessments: Unknown ¢ View: Hills, Mountain(s)

* $21 (Estimated)
* SellerConsiderConcessionYN:

Interior
* Rooms: All Bedrooms Up, Family Room, Kitchen, Living * Appliances: 6 Burner Stove, Dishwasher, Gas Range,
Room Microwave, Refrigerator
* Other Interior Features: Built-in Features, Cathedral
Ceiling(s), Quartz Counters
Exterior
« Lot Features: 0-1 Unit/Acre *¢ Sewer: Public Sewer

Additional Information

* Standard sale * AV - Aliso Viejo area
¢ $78 HOA dues Monthly plus $148 Quarterly * Orange County
« Laguna Beach Unified School District * Parcel # 62315153

« Buyer Agency Compensation: 2%

Lisa Hynson Re/Max Premier Realty
State License #: 01267001 State License #: 00994662 AT
Cell Phone: 949-510-0411 5299 Alton Pkwy Exhibit "2" Page 11

Fax: 949-888-1959 Irvine, 92604

Case 8:23-bk-11393-TA Doc115 Filed 12/20/24 Entered 12/20/24 16:26:26 Desc
Main Document Page 12 of 19

Click arrow to display photos

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Exhibit "2" Page 12
Case 8:23-bk-11393-TA Doc115 Filed 12/20/24 Entered 12/20/24 16:26:26 Desc

Main Document

Page 13 of 19

Closed

30 Woodswallow Ln

*® Single Family Residence

* Aliso Viejo 92656

4 beds, 3 fullbaths + 1,546 sqft « 3,000 sqftlot « $806.92/sqft + Built in 1990

List / Sold:
$1,199,000/$1 ,247,500 +

8 days on the market
Listing ID: O0C24105293

From Aliso Creek turn onto Hummingbird, right onto Coral Bill and quick left onto Woodswallow

HIGHLY SOUGHT AFTER SINGLE FAMILY HOME IN LAGUNA AUDUBON WITH LAGUNA BEACH SCHOOLS! Awesome property
offering 4 bedrooms, 3 bathrooms with the highly sought after main floor bedroom and bathroom, large living and dining
room with stone accented fireplace and high ceilings. Delightful kitchen with center island, designer pendant lighting, granite
countertops and stainless steel appliances opens to the family room and sliding doors leading to the inviting backyard with
private spa, large covered patio area with brick accents, planters, large side yard, perfect for your outdoor enjoyment,
weekend BBQs and entertainment. Spacious master suite with vaulted ceilings, walk-in closet and master bathroom with large
vanity featuring granite countertop, dual sinks, oversized tub & shower and upgraded fixtures. Upgraded flooring and
baseboards, designer trim around windows, upgraded lighting and fixtures, upgraded dual glazed windows. All this plus the
highly sought after Laguna Beach school district, easy access to the toll road (73) and access via 133 to world class beaches
at Laguna Beach with restaurants, shopping and entertainment, excellent proximity to Aliso Viejo Town Center and nearby

hiking, biking and nature trails!

Facts & Features

* Sold On 07/19/2024

* Original List Price of $1,199,000

« Levels: Two

« 2 Garage spaces/Attached Garage
+ 2 Total parking spaces

« Assessments: Unknown

« $21 (Estimated)

« SellerConsiderConcessionYN:

« Laundry: In Garage, Washer Hookup
* Cooling: Central Air

« Heating: Central, Forced Air

* Fireplace: Living Room

* Patio: Cavered, Patio

* Spa: Private, Heated, In Ground

« View: Park/Greenbelt, Trees/Woods

Interior

* Rooms: Entry, Kitchen, Living Room, Main Floor Bedroom,
Primary Bathroom, Primary Bedroom, Primary Suite, Walk-
In Closet

* Eating Area: Area, Dining Room

* Appliances: Dishwasher, Disposal, Gas Range, Range Hood,
Water Heater

¢ Other Interior Features: Cathedral Ceiling(s), Granite
Counters, High Ceilings, Recessed Lighting, Two Story Ceilings

Exterior
« Lot Features: Front Yard, Park Nearby, Yard

*« Sewer: Public Sewer

Additional Information

« Standard sale

* $78 HOA dues Monthly plus $49 Monthly
* Laguna Beach Unified School District

« Buyer Agency Compensation: 2%

« AV - Aliso Viejo area
* Orange County
* Parcel # 62317214

Lisa Hynson

State License #: 01267001
Cell Phone: 949-510-0411
Fax: 949-888-1959

Re/Max Premier Realty
State License #: 00994662
5299 Alton Pkwy

Irvine, 92604 Eyhihit "2" Pp 13

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Case 8:23-bk-11393-TA Doc115 Filed 12/20/24 Entered 12/20/24 16:26:26 Desc
Main Document Page 14 of 19

Exhibit "2" Page 14
Case 8:23-bk-11393-TA Doc115 Filed 12/20/24 Entered 12/20/24 16:26:26 Desc
Main Document Page 15 of 19

CUSTOMER FULL: Residential LISTING ID: 0c24105293 Printed: 12/11/2024 4:06:01 PM

Exhibit"2" Page 15
Case 8:23-bk-11393-TA Doc115 Filed 12/20/24 Entered 12/20/24 16:26:26 Desc

Main Document

Page 16 of 19

Quick CMA Report

List Price

Br/Ba Sqft  LSaft Sold Price $/Sqft spsip%
Total Listings: 3 Maximum: 4/3 1,546 3,600 $1,230,000 $1,260,000 $837.80 105.1%
Total on Market: 0 Minimum: 3/3 1,492 3,000 $1,199,000 $1,247,500 $806.92 101.6%
Sold/Exp Ratio: 0.00 Average: 3/3 1,517 3,360 $1,209,333 $1,252,500 $826.02 103.6%
Median: 3/3 1,512 3,480 $1,199,000 $1,250,000 $833.33 104.0%

Closed
Address - City YrBuilt SaleType COEDate 6r Bath CDOM Sqft LSqft  $/Saft Price
30 Woodswallow LN AV 1990 STD 07/19/2024 4 3 8/8 1,546 3,000 $806.92 $1,247,500
7 San Bittern LN AV 1989 STD 08/16/2024 3 3 11/11 1,492 3,480 $837.80 $1,250,000
39 Songbird LN AV 1989 STD 08/28/2024 3 3 4/4 1,512 3,600 $833.33 $1,260,000
Maximum: 4 3 11 1,546 3,600 $837.80 $1,260,000
Minimum: 3 3 4 1,492 3,000 $806.92 $1,247,500
Average: 3 3 8 1,517 3,360 $826.02 $1,252,500
Median: 3 3 8 1,512 3,480 $833.33 $1,250,000

Criteria:

Property Type is ‘Residential’

Standard Status is ‘Closed’ 12/11/2024 to 07/14/2024
Standard Status is one of ‘Active’, ‘Act Under Contract’,

‘Pending’

Property Sub Type is 'Singte Family Residence’

City is ‘Aliso Viejo’

Bedrooms Total is 3+
Bathrooms Total Integer is 2+
Garage Spaces is 2

Residential Quick CMA Page 1 of 1

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Case 8:23-bk-11393-TA Doc115 Filed 12/20/24 Entered 12/20/24 16:26:26 Desc
Main Document Page 17 of 19

List / Sold:
$1,199,000/$1,260,000 +

4 days on the market

Closed -« Single Family Residence

39 Songbird Ln © Aliso Viejo 92656

3 beds, 2 full baths, 1 partial baths ¢« 1,512 sqft « 3,600 sqft lot + $833.33/sqft «
Built in 1989

Cross Streets: Aliso Creek Rd, El Toro Rd

Listing ID: OC24157470

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o Creek Roy

— 3 :

Rap data @2024

Welcome to 39 Songbird Ln! This home has been thoughtfully upgraded with numerous modern amenities. Enter into your
spacious family room with fireplace. The kitchen is an entertainer's dream with sparkling stainless steel appliances, recessed
lighting and large island. The kitchen underwent a stunning remodel in 2022, valued at over $60,000, featuring LG appliances
including a new dishwasher and a three-year-old refrigerator. The dining room is open to the kitchen with another bonus
dining area. The bedrooms are upstairs and generously sized with an additional loft area. There is also a jack and jill
bathroom. The primary suite is a true retreat boasting soaring ceilings, lots of windows and custom closet. The ensuite
bathroom features a skylight adding natural light. Enjoy the serene mountain views from your in-ground spa with a waterfall.
The backyard is perfect for entertaining. The attached two-car garage includes a Tesla charger, laundry facilities, and storage
racks. Home has been re-piped with a PEX piping system and boasts new flooring throughout as of 2022. The exterior was
freshly painted and new shutters were added in 2023. For added security and convenience, the home is equipped with a Vivint
Security System, which offers smart security features, a smart garage door, a thermostat controlled from your phone, and two
outdoor cameras (one over the garage and one in the backyard). Additionally, the home features a water softener system,
and a new "10-year pet proof" carpet installed in 2022. The house is situated in the last neighborhood that qualifies for the
Laguna Beach Unified School District, The location is ideal, being close distance to a playground, park, and the Aliso Creek
Riding & Hiking Trail. Low HOA fees too! Come see it today!

Facts & Features

« Sold On 08/28/2024

* Original List Price of $1,199,000

« Levels: Two

« 2 Garage spaces/Attached Garage
° 4 Total parking spaces

« Assessments: Unknown

* $21 (Estimated)

« SellerConsiderConcessionYN:

* Laundry: Gas & Electric Dryer Hookup, In Garage, Washer
Hookup

* Cooling: Central Air

* Heating: Natural Gas

« Fireplace: Living Room, Gas

* Pool: Private, Heated

* Spa: Private, In Ground

« View: Mountain(s), Neighborhood

Interior

« Rooms: All Bedrooms Up, Kitchen, Living Raom, Loft,
Primary Bathroom, Primary Bedroom, Walk-In Closet

* Appliances: Barbecue, Convection Oven, Dishwasher,
ENERGY STAR Qualified Appliances, Disposal, Gas Oven, Gas
Range, Gas Water Heater, Microwave, Range Hood,
Refrigerator, Self Cleaning Oven, Water Heater, Water Softener
* Other Interior Features: Attic Fan, Cathedral Ceiling(s),
Ceiling Fan(s), High Ceilings, Pantry, Quartz Counters,
Recessed Lighting, Unfurnished

Exterior

« Lot Features: Back Yard, Front Yard, Landscaped, Lawn,
Level, Yard

« Sewer: Public Sewer

Additional Information

* Standard sale
« $77 HOA dues Monthly plus $148 Quarterly
« Laguna Beach Unified School District

« AV - Aliso Viejo area
« Orange County
* Parcel # 62317413

Exhibit "2" Page 17
Case 8:23-bk-11393-TA Doc115 Filed 12/20/24 Entered 12/20/24 16:26:26 Desc
Main Document Page 18 of 19

PROOF OF SERVICE OF DOCUMENT

| am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
2122 N. Broadway, Santa Ana, CA 92706

A true and correct copy of the foregoing document entitled (specify):
Motion to Compel Trustee 10 Abandon 10 White Pelican Lane, Aliso Viejo, California, Memorandum of

Points and Authorities and Declaration of Gregory Sorensen in Support Thereof

will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
12/20/2024 , | checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

iY] Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: .

On (date) _ | served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

T] Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) , |served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

12/20/2024 Michael G. Spector
Date Printed Name

This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012 F 9013-3.1.PROOF.SERVICE
Case 8:23-bk-11393-TA Doc115 Filed 12/20/24 Entered 12/20/24 16:26:26 Desc
Main Document Page 19 of 19

ECF NOTICE

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